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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

                Plaintiff,

                                                              Criminal No. 17-40(JAG)


ANEURI BENCOSME-MARTINEZ,

                 Defendant.



                                 SENTENCING MEMORANDUM

TO THE HONORABLE JAY GARCIA-GREGORY
JUDGE OF THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO:

         NOW COMES Defendant ANEURI BENCOSME-MARTINEZ through the

 undersigned counsel and respectfully submits the following Sentencing Memorandum

 with respect to the upcoming sentencing hearing.

          On May 10, 2017, Mr. Bencosme entered a straight plea to the Indictment

[Doc. 21] charging that on or about January 20, 2017, after having been previously

deported from the United States, he did knowingly attempt to enter the United States

without having obtained, prior to his re-embarkation, the express consent from the

Attorney General of the United States to reapply for admission into the United States, in

violation of 8 USC Section 1326(a)(2). The sentencing hearing has been set for September

7, 20171. [Docket 21]


1 A motion requesting that the sentencing hearing be advanced was filed yesterday. See Docket 28.
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          Under U.S.S. Guideline Section 2L1.2(a), the base offense level for said

violation is eight (8). Since Mr. Bencosme timely accepted responsibility, two points are

deducted for an adjusted offense level of six (6) . Mr. Bencosme has no prior conviction

and therefore his criminal history category is I. An adjusted offense level of 6 with a

criminal history category of I yields a guideline range of incarceration of 0-6 months. See

PSR, Doc. 26, page 8, paragraph 52.

       Mr. Bencosme submits the instant sentencing memorandum emphasizing the

following factors of his personal history and characteristics relevant to the imposition of

a sentence sufficient but not more than necessary to comply with the goals of sentencing,

as required by statute. Mr. Bencosme is a 33 year old Dominican national, father of two

(2) children who reside in the Dominican Republic and who depend on him for their

support. Mr. Bencosme has no prior conviction and his record of illegal entries in the

United States consists of administrative violations and no criminal convictions. As soon

as the instant criminal proceedings are concluded, Mr. Bencosme still faces additional

incarceration pending the conclusion of the removal proceedings.

       As explained in the PSR, Mr. Bencosme has been going through an extreme jail

conditions while incarcerated at the state jail in Bayamon, Puerto Rico. The jail is infected

with cockroaches and mosquitoes, and inmates are locked up for 22 hours a day. See PSR,

p. 4, paragraph 14.

       Mr. Bencosme was arrested on January 22, 2017. As of the filing of this motion,

Mr. Bencosme has served four (4) months and 21 days of imprisonment. At the time of

his sentencing hearing, he would have served 7 months and 16 days of imprisonment. As
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indicated before, the guideline range of incarceration applicable to Mr. Bencosme is 0-6

months. A sentence of time served is sufficient and not more than necessary to comply

with the sentencing statues and Guidelines.

      WHEREFORE Mr. Bencosme respectfully requests that this Honorable Court

take notice and consider all the sentencing factors and information herein made available

and to sentence Mr. Bencosme to time served.


      RESPECTFULLY SUBMITTED.
      In San Juan, Puerto Rico, this 14th day of June, 2017.


                           /S/ Ramon M. Gonzalez
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                            CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and exact copy of this document been on this
same date filed through the Clerk of Court’s electronic filing system which would
electronically send copy of this document to all interested parties/attorneys.



                           /S/ Ramon M. Gonzalez
                                 RAMÓN M. GONZALEZ
